   Case: 23-2783                  Document: 00714324583               Filed: 01/26/2024        Pages: 1



   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                  Office of the Clerk
        United States Courthouse
                                                                                 Phone: (312) 435-5850
     Room 2722 - 219 S. Dearborn Street
                                                                                 www.ca7.uscourts.gov
          Chicago, Illinois 60604




January 26, 2024

By the Court:

                                     RANDY LIEBICH,
                                              Plaintiff - Appellant

No. 23-2783                          v.

                                     PAUL SEVERIN, et al,
                                              Defendants - Appellees
Originating Case Information:
District Court No: 1:20-cv-02368
Northern District of Illinois, Eastern Division
Magistrate Judge M. David Weisman


On December 13, 2023, and January 5, 2024, the court ordered the appellant to show cause why
this appeal should not be dismissed for lack of prosecution based on the failure to timely file an
opening brief. Although the most recent response was due January 19, 2024, the appellant has
failed to respond or file the required opening brief.

Accordingly, IT IS ORDERED that this appeal is DISMISSED for lack of prosecution. See Cir.
R. 31(c)(2).



form name: c7_FinalOrderWMandate          (form ID: 137)
